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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

    In re: Marita Capehart Wilton, Debtor            )                       Case No. 18-32293-KLP
                                                     )                       Chapter 13

                                   OBJECTION TO CONFIRMATION

       COMES NOW Elizabeth C. Brogan, Counsel for Suzanne E. Wade, Chapter 13 Trustee, and
moves this Court to deny confirmation of the Chapter 13 Plan dated April 30, 2018, for the cause as
follows:

   1. The Debtor filed this Chapter 13 Petition, now pending in the United States Bankruptcy
      Court, Eastern District of Virginia, Richmond Division, on April 30, 2018 under 11 U.S.C.
      Chapter 13.

   2. This Objection is filed pursuant to 11 U.S.C. § 1325(a)(4).

   3. The above-filed Chapter 13 case is not eligible for confirmation due to the Debtor’s failure
      to provide proof of the value of her ownership interest in real property. The Debtor’s
      Schedule A/B discloses her ownership interest in real property located at 2128 Mountain
      View Road, in Powhatan, Virginia, and valued at $137,860.00. Upon information and belief,
      the same property is valued at $154,200.00 for tax assessment purposes.

   4. The Trustee requests the Debtor provide a comparative market analysis demonstrating the
      value of the above-described property. To the extent the Debtor would suggest the property
      is in need of repairs, the Trustee requests the Debtor provide a professional estimate of the
      cost of such repairs.
    WHEREFORE, for the reasons stated herein, the Chapter 13 Trustee, by Counsel, respectfully moves
the Court to deny confirmation of the Debtor’s proposed Chapter 13 Plan, and for such further and other
relief as the Court deems necessary.


  Date: June 22, 2018                                         /s/ Elizabeth C. Brogan                  .




                                                                 Elizabeth C. Brogan, Counsel for
                                                                 Suzanne E. Wade, Chapter 13 Trustee




Elizabeth C. Brogan
Counsel for Suzanne E. Wade, Chapter 13 Trustee
Virginia State Bar Number 76539
1313 East Main Street, Suite A
Post Office Box 1780
Richmond, Virginia 23218-1780
(804) 775-0979
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                                       CERTIFICATE OF SERVICE

         I hereby certify a true copy of the foregoing OBJECTION TO CONFIRMATION was served
electronically or by first-class mail, postage prepaid, this 22nd day of June, 2018, upon the following
parties:

        Marita Capehart Wilton
        2128 Mountain View
        Powhatan, VA 23139

        John G. Merna, Counsel for Debtor
        The Merna Law Group, P.C.
        3419 Virginia Beach Boulevard, #236
        Virginia Beach, VA 23452
        court@mernalaw.com

        Daniel Kevin Eisenhauer, Counsel for Virginia Credit Union, Inc.
        Stern & Eisenberg Mid-Atlantic, PC
        9920 Franklin Square Dr, Suite 100
        Baltimore, MD 21236
        bkecf@sterneisenberg.com

                                                             /s/ Elizabeth C. Brogan                   .




                                                                 Elizabeth C. Brogan, Counsel for
                                                                 Suzanne E. Wade, Chapter 13 Trustee




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Counsel for Suzanne E. Wade, Chapter 13 Trustee
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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

    In re: Marita Capehart Wilton, Debtor             )                       Case No. 18-32293-KLP
                                                      )                       Chapter 13
           2128 Mountain View                         )
           Powhatan, VA 23139                         )
                                                      )
           XXX-XX-5743                                )

                           NOTICE OF OBJECTION TO CONFIRMATION

       Elizabeth C. Brogan, Counsel for Suzanne E. Wade, Chapter 13 Trustee, has filed papers with
the Court objecting to the confirmation of your Chapter 13 Plan dated April 30, 2018.

       Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

       If you do not want the Court to grant the relief sought in the Objection, or if you want the Court
to consider your views on the Objection, then on or before three (3) days before the date of the hearing,
you or your attorney must:

        _X_ File with the Court, at the address shown below, a written response pursuant to Local
        Bankruptcy Rule 9013-1(H). If you mail your response to the Court for filing, you must
        mail it early enough that the Court will receive it on or before the date stated above.

                         Clerk of Court
                         United States Bankruptcy Court
                         701 East Broad Street, Suite 4000
                         Richmond, Virginia 23219

        You must also mail a copy to:
                         Elizabeth C. Brogan
                         Counsel for Suzanne E. Wade, Chapter 13 Trustee
                         Post Office Box 1780
                         Richmond, Virginia 23218-1780

        _X_ Attend the hearing on the Objection, scheduled to be held on July 18, 2018 at 9:10
        a.m. at United States Bankruptcy Court, 701 East Broad Street, Room 5100,
        Richmond, VA 23219.
Elizabeth C. Brogan
Counsel for Suzanne E. Wade, Chapter 13 Trustee
Virginia State Bar Number 76539
1313 East Main Street, Suite A
Post Office Box 1780
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         If you or your attorney do not take these steps, the Court may decide that you do not oppose the
relief sought in the Objection, and may enter an order granting that relief.

Date: June 22, 2018                                           /s/ Elizabeth C. Brogan                   .




                                                                  Elizabeth C. Brogan, Counsel for
                                                                  Suzanne E. Wade, Chapter 13 Trustee


                                       CERTIFICATE OF SERVICE

       I hereby certify a true copy of the foregoing NOTICE OF OBJECTION TO CONFIRMATION
was served electronically or by first-class mail, postage prepaid, this 22nd day of June, 2018, upon the
following parties:

        Marita Capehart Wilton
        2128 Mountain View
        Powhatan, VA 23139

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        3419 Virginia Beach Boulevard, #236
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        Stern & Eisenberg Mid-Atlantic, PC
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        Baltimore, MD 21236
        bkecf@sterneisenberg.com

                                                              /s/ Elizabeth C. Brogan                   .




                                                                  Elizabeth C. Brogan, Counsel for
                                                                  Suzanne E. Wade, Chapter 13 Trustee




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